                                              Entered on Docket
                                              February 15, 2019
                                              EDWARD J. EMMONS, CLERK
                                              U.S. BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF CALIFORNIA



 1
     Andrew D. Weiss SBN 121149
 2   LAW OFFICES OF ANDREW D. WEISSThe following constitutes the order of the Court.
     26459 Rancho Parkway South    Signed: February 15, 2019
 3   Lake Forest, California 92630
     Telephone: (949) 360-9478
 4   Facsimile: (949) 360-0302
                                   _________________________________________________
     Email: oclawadw@aol.com       M. Elaine Hammond
 5   Attorney for Creditor         U.S. Bankruptcy Judge
     Kurt Miller
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 8                       UNITED STATES BANKRUPTCY COURT
 9            NORTHERN DISTRICT OF CALIFORNIA – SAN JOSE DIVISION
10

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     In Re:                                           Case No. 18-51575 MEH
12
                                                      Chapter 13
13            GLORIA CABRAL ROBLES,
                                                      ORDER ON MOTION TO
14                                                    TERMINATE, ANNUL AND FOR
                          Debtor.                     IN REM RELIEF
15
                                                      Date: January 25, 2019
16                                                    Time: 1:00 p.m.
                                                      Courtroom: 3020
17

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19            The motion of creditor Kurt Miller to terminate, annul and for in rem relief
20   (“Motion”) was tried to the Court on October 24, 2018 and January 22, 2019. The
21   motion came regularly for hearing on January 25, 2019 at 1:00 pm. in Courtroom 3020,
22   the Honorable M. Elaine Hammond, judge presiding, for a final ruling. Andrew D.
23   Weiss of the Law Offices of Andrew D. Weiss appeared for creditor and moving party,
24   Kurt Miller. Linda Keny of The Litigation Law Group appeared for debtor, Gloria Cabral
25   Robles. The Motion relates to the real property commonly known as 3474 Gila Drive,
26   San Jose, California ("Property"), as more specifically described below:
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 1              LOT 37, AS SHOWN ON THAT CERTAIN MAP OF TRACT NO.
 2              4328 WHICH MAP WAS FILED FOR RECORD IN THE OFFICE
 3              OF THE RECORDER OF THE COUNTY OF SANTA CLARA,
 4              STATE OF CALIFORNIA ON JULY 18, 1968, IN BOOK 240 OF
 5              MAPS, PAGES 18 AND 19.
 6              EXCEPTING THEREFROM THE UNDERGROUND WATER OR
 7              RIGHTS THERETO, WITH NO RIGHT OF SURFACE ENTRY, AS
 8              THE SAME WERE CONVEYED TO THE SAN JOSE WATER
 9              WORKS, A CALIFORNIA CORPORATION BY DEED RECORDED
10              AUGUST 1, 1968 IN BOOK 8212, PAGE 238, OFFICIAL
11              RECORDS.
12          Having reviewed the moving and opposing papers, having received direct
13   testimony by written declarations, having heard oral testimony, having received exhibits
14   into evidence, having heard oral argument, and in accordance with the oral statement of
15   decision given by the Court on the record:
16          IT IS HEREBY ORDERED the motion to annul the stay is denied, the motion
17   to terminate the stay pursuant to 11 U.S.C. Section 362(d)(2) is granted, the motion for
18   in rem relief pursuant to 11 U.S.C. Section 362(d)(4) is granted, and the foreclosure sale
19   held on July 18, 2018 is void as a matter of law.
20          If recorded in compliance with applicable state laws governing notices of interests
21   or liens in real property, this order shall be binding in any other case under this Title 11
22   purporting to affect the Property filed not later than 2 years after the date of the entry of
23   this order by the court, except that a debtor in a subsequent case under this title may move
24   for relief from this order based upon changed circumstances or for good cause shown,
25   after notice and a hearing. Any federal, state or local government unit that accepts notices
26   of interests or liens in real property shall accept any certified copy of this order for
27   indexing and recording.
28                                      **END OF ORDER**



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                                          Court Service List

 2   Capital One Auto Finance, a division of Capital One, N.A., c/o AIS Portfolio Services, LP
     4515 N Santa Fe Ave. Dept. APS
 3
     Oklahoma City, OK 73118
 4
     Synchrony Bank
 5   c/o PRA Receivables Management, LLC
     P.O. Box 41021
 6
     Norfolk, VA 23541
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